                 Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 1 of 7




 1

 2

 3

 4

 5

 6

 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE
 9
     RICHARD JAMES DIDZUN, an individual;         No. 2:21-cv-01540 RSL
10   IAN McANDREWS and KATE
     McANDREWS, individually and for their
11   marital community; on behalf of themselves
     and persons similarly situated;              ORDER GRANTING
12                                                PRELIMINARY APPROVAL
                               Plaintiffs,
13          v.

14   THE HOME DEPOT, INC., a foreign
     corporation, and HOME DEPOT USA,
15   INC.;

16                             Defendants.

17

18

19

20

21

22

23

24

25

26


     ORDER GRANTING PRELIMINARY
     APPROVAL - 1
     No. 2:21-cv-01540 RSL
               Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 2 of 7




             Before the Court is the Plaintiffs’ Motion for Preliminary Approval. Dkt. #43. The Court
 1

 2   has considered the Preliminary Approval Motion, together with its supporting declarations and

 3   exhibits, as well as the Parties’ Joint Status Report of July 15, 2024. Dkt. #49.

 4           This Court has also reviewed the Parties’ Joint Stipulation of Class Action Settlement
 5   and Modification to Joint Stipulation of Settlement (collectively, the “Agreement”), as well as
 6
     the files, records, and proceedings to date in this matter. 1
 7
             Based on this Court’s review of the Agreement and all of the files, records, and
 8
     proceedings herein, the Court concludes, upon preliminary examination, that the Agreement and
 9
     Settlement appear fair, reasonable, and adequate, and within the range of reasonableness for
10

11   preliminary settlement approval, and that a hearing should and will be held after notice to the

12   Class (as defined in Paragraph A below) to confirm that the Agreement and Settlement are fair,

13   reasonable, and adequate and to determine whether the Settlement should be approved and final
14   judgment entered in this action based upon the Agreement.
15
             IT IS HEREBY ORDERED THAT:
16
             A.    Preliminary Approval of Proposed Settlement.
17
             The Agreement is preliminarily approved as fair, reasonable, and adequate and within
18
     the range of reasonableness for preliminary settlement approval. The Court finds that: (a) the
19

20   Agreement resulted from extensive arm’s length negotiations; and (b) the Agreement is

21   sufficient to warrant notice of the Settlement to persons in the Class and a full hearing on the

22   approval of the Settlement.
23           The Class is defined as:
24

25

26   1
            For purposes of this Order, capitalized terms used below shall have the meaning
     ascribed to them in the Preliminary Approval Motion, unless otherwise defined.

     ORDER GRANTING PRELIMINARY
     APPROVAL - 2
     No. 2:21-cv-01540 RSL
                 Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 3 of 7




            All hourly and salaried non-exempt associate employees of the Home Depot
 1          U.S.A., Inc., in the State of Washington between August 22, 2018, and July 25,
 2          2024: (1) who were identified as one of the 32,532 associate employees for whom
            Plaintiff’s counsel was provided timekeeping and/or payroll data; but (2) excluding
 3          those associates who during this period only held a Specialist or Supervisor position
            (collectively, “Excluded Positions”) and received notice of and were eligible to
 4          participate in the settlement of the action titled Carlson v. Home Depot U.S.A., Inc.,
            et al., in the United States District Court for the Western District of Washington,
 5          assigned Case Number 2:20-CV-1150. To the extent that, during the Covered
            Period, an hourly or salaried non-exempt associate was employed in both an
 6
            Excluded Position and a job not constituting an Excluded Position, that individual
 7          will participate in this Settlement only with respect to those Relevant Shifts during
            which they held a position other than an Excluded Position.
 8

 9          B.     Fairness Hearing.

10          A final approval hearing (the “Fairness Hearing”) shall be held before the Court on
11   Thursday, December 19, 2024, to finally determine whether the Agreement is fair, reasonable,
12
     and adequate and should be approved. Papers in support of final approval of the Agreement,
13
     the incentive award to Plaintiff, and Class Counsel’s application for an award of attorneys’
14
     fees, costs and expenses (the “Fee Application”) shall be filed with the Court according to the
15
     schedule set forth in Paragraph K below. The Fairness Hearing and all dates provided for
16

17   herein may, without further notice to the Class, be continued or adjourned by order of this

18   Court. After the Fairness Hearing, the Court may enter a settlement order and final judgment

19   in accordance with the Agreement that will adjudicate the rights of the Class Members with
20
     respect to the Released Claims being settled. The scope of the Released Claims shall be that
21
     set forth in §I, ¶FF of the Agreement.
22
            C.     Class Notice.
23
            Class Notice shall be sent within twenty-eight (28) days following entry of this Order.
24

25   Simpluris shall serve as Administrator. The Administrator will provide mail notice to persons

26   in the Class by mail, and when available, by e-mail as well, according to the program described


     ORDER GRANTING PRELIMINARY
     APPROVAL - 3
     No. 2:21-cv-01540 RSL
                 Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 4 of 7




     in the Settlement Agreement. Skip tracing shall be performed by the Administrator for all
 1

 2   returned mail.

 3          D.     Findings Concerning Class Notice.

 4          The Court finds that the foregoing program of Class Notice and the manner of its
 5   dissemination is the best practicable notice under the circumstances and is reasonably
 6
     calculated to apprise the Class of the pendency of this action and their right to object to or
 7
     exclude themselves from the Class. The Court further finds that the Class Notice program is
 8
     reasonable, that it constitutes due, adequate, and sufficient notice to all persons entitled to
 9
     receive notice and that it meets the requirements of due process and Civil Rule 23. The Court
10

11   hereby approves the Notice in substantially the same form as that attached at Dkt. 49-2 as

12   Exhibit B to the Joint Status Report.

13          E.     Administration.
14          The Court confirms that it is appropriate for the Defendant to provide the information
15
     necessary to provide the notice contemplated herein and to administer the settlement, including
16
     names, addresses, and personal identifying information.
17
            F.     Exclusion from the Class.
18
            Persons in the Class will have the right to opt out by sending a written request to a
19

20   designated address within forty-five (45) days after the Notice Mailing Date. All Class

21   Members who do not opt out in accordance with the terms set forth herein will be bound by all

22   determinations and judgments in this action. Exclusion requests must contain the person’s
23   name, address, telephone number, and signature, and must include the following statement: “I
24
     wish to opt out of the settlement of the class action lawsuit entitled Didzun, et al. v. The Home
25
     Depot, Inc., et al., Case No. 2:21-CV-1540. I understand and desire to receive no money from
26


     ORDER GRANTING PRELIMINARY
     APPROVAL - 4
     No. 2:21-cv-01540 RSL
               Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 5 of 7




     the Didzun Settlement.” The Administrator will retain a copy of all requests for exclusion. Not
 1

 2   later than 15 days from the exclusion deadline, the Administrator shall file with the Court a

 3   declaration that provides copies of all exclusion requests received, regardless whether they

 4   satisfy all of the requirements of this paragraph.
 5          G.      Objections and Appearances.
 6
            Any person in the Class who has not timely submitted a valid request for exclusion
 7
     from the Class, and thus is a Class Member, may object to the proposed Settlement and appear
 8
     at the Fairness Hearing to argue that the proposed Settlement should not be approved and/or to
 9
     oppose the application of Class Counsel for an award of attorneys’ fees and the incentive award
10

11   to the Class Representatives.

12                 1. In order to object to the Settlement, a Class member must make any objection

13                     in writing and file it with the Court and serve on all Parties not later than
14                     forty-five (45) days after the Notice Mailing Date. The objection must
15
                       include the person’s name, address, telephone number, and signature, and
16
                       must set forth, in clear and concise terms, the legal and factual arguments
17
                       supporting the objection. Any objections that are not timely filed and mailed
18
                       may be forever barred.
19

20                 2. In order to speak at the hearing, a Class member also must file with the Court

21                     and serve on all Parties a Notice of Intention to Appear at the Fairness

22                     Hearing with the Court no later than fourteen (14) days before the Fairness
23                     Hearing. The Notice must include the person’s name, address, telephone
24
                       number, and signature.
25

26


     ORDER GRANTING PRELIMINARY
     APPROVAL - 5
     No. 2:21-cv-01540 RSL
                 Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 6 of 7




            H.       Further Papers In Support Of Settlement And Fee Application.
 1

 2          Class Counsel’s Motion for Attorneys’ Fees and the Motion for Final Approval shall

 3   be filed as provided in Paragraph K.

 4          I.       Effect of Failure to Approve the Agreement.
 5          In the event the Agreement is not approved by the Court, or for any reason the Parties
 6
     fail to obtain a Final Judgment as contemplated in the Agreement, or the Agreement is
 7
     terminated pursuant to its terms for any reason, then the following shall apply:
 8
                    1. All orders and findings entered in connection with the Agreement shall
 9
                       become null and void and have no further force and effect, shall not be used
10

11                     or referred to for any purposes whatsoever, and shall not be admissible or

12                     discoverable in any other proceeding;

13                  2. The Agreement and its existence shall be inadmissible to establish any fact or
14                     any alleged liability of the Defendant for the matters alleged in this action or
15
                       for any other purpose; and
16
                    3. Nothing contained in this Order is, or may be construed as, any admission or
17
                       concession by or against the Defendant or Plaintiffs on any point of fact or
18
                       law.
19

20          J.     Stay/Bar Of Other Proceedings.

21          All proceedings in this action are stayed until further order of the Court, except as

22   may be necessary to implement the terms of the Settlement. Pending final determination of
23   whether the Settlement should be approved, Plaintiffs, all persons in the Class and persons
24
     purporting to act on their behalf are enjoined from commencing or prosecuting (either
25
     directly, representatively, or in any other capacity) against any of the Released Parties any
26


     ORDER GRANTING PRELIMINARY
     APPROVAL - 6
     No. 2:21-cv-01540 RSL
               Case 2:21-cv-01540-RSL Document 51 Filed 07/25/24 Page 7 of 7




     action, arbitration, or proceeding in any court, arbitration forum, or tribunal asserting any of
 1

 2   the Released Claims as defined in the Agreement.

 3          K.    Timeline.

 4
          ACTION                                           DATE
 5
          Preliminary Approval Order Entered               July 25, 2024
 6

 7        Notice Mailing Date                              August 22, 2024

 8        Plaintiffs’ Counsel’s Fee Motion Submitted       September 20, 2024
 9
          Final Approval Brief Submitted                   September 20, 2024
10
          Exclusion/Objection Deadline                     October 22, 2024
11

12        Administrator’s Report of Exclusion              November 7, 2024
          Requests
13        Responses to Objections Submitted                November 22, 2024
14
          Final Approval Hearing / Noting Date             December 19, 2024
15

16

17        The Fairness Hearing is scheduled on Thursday, December 19, 2024, at 11:00 am in

18   Courtroom 15128 at the U.S. Courthouse in Seattle, Washington.
19

20
     IT IS SO ORDERED.
21
            Dated this 25th day of July, 2024.
22

23
                                                   Robert S. Lasnik
24                                                 United States District Judge
25

26


     ORDER GRANTING PRELIMINARY
     APPROVAL - 7
     No. 2:21-cv-01540 RSL
